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            EXHIBIT H
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                                12/03/2019                            1

·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · SOUTHERN DISTRICT OF NEW YORK

·3· · · · · · · · · · · · ·MDL No. 2542

·4· · · · · · · · ·Docket No. 1:14-MD-02542-VSB

·5· ·- - - - - - - - - - - - - - - - - - - - - - x

·6· ·IN RE:· KEURIG GREEN MOUNTAIN

·7· ·SINGLE-SERVE COFFEE ANTITRUST LITIGATION

·8· ·- - - - - - - - - - - - - - - - - - - - - - x

·9· ·30(b)(6) VIDEOTAPED DEPOSITION OF KEURIG GREEN MOUNTAIN

10· · · · · · · · · · Through MARK WOOD

11

12· · · · · · · · · · · December 3, 2019

13· · · · · · · · · · · · · 8:43 a.m.

14

15· · · · · · · · · · · · Marriott Hotel

16· · · · · · · · · ·One Burlington Mall Road

17· · · · · · · · · Burlington, Massachusetts

18· · ·Reporter:· Rosemary F. Grogan, RPR, CSR No. 112993

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·1· · · · Q.· ·Okay.· Do you think it was -- do you attach                     09:23:28

·2· ·any significance to the fact that Keurig, according to

·3· ·your testimony, obtained the cups before filing the

·4· ·lawsuit against Sturm?

·5· · · · A.· ·Do I attach any significance --                                 09:23:52

·6· · · · Q.· ·Correct.                                                        09:23:57

·7· · · · A.· ·-- to that fact?                                                09:23:58

·8· · · · Q.· ·Correct.                                                        09:23:59

·9· · · · A.· ·Yes, we had the actual product that was being                   09:24:02

10· ·sold in market to consumers and that provided our

11· ·factual basis for filing the suit.

12· · · · Q.· ·And do you -- and if you hadn't been in                         09:24:15

13· ·possession of the actual product that was sold in the

14· ·market to consumers, would you have had a factual basis

15· ·for filing the suit?

16· · · · · · ·MS. NEWTON:· Objection as to form; calls for                    09:24:31

17· · · · legal conclusion.

18· · · · A.· ·Yeah, I -- I think until the product was                        09:24:39

19· ·provided to consumers, the infringing action wouldn't

20· ·have occurred, and until it was in the marketplace, the

21· ·violation of our trademarks and trade dress could not

22· ·have occurred.

23· · · · Q.· ·Right.· And did you attach any significance to                  09:24:59

24· ·the fact that, according to your testimony, you had

25· ·tested the cups, the 30 cups, I think I heard you say,


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·1· ·prior to bringing the lawsuit against Sturm?

·2· · · · A.· ·Do I attach any significance?· I do.                            09:25:21

·3· · · · Q.· ·What significance?                                              09:25:23

·4· · · · A.· ·We were very concerned about the quality of                     09:25:25

·5· ·the product and the potential for, first and foremost,

·6· ·harm to consumers, and, secondly, to our reputation, the

·7· ·reputation of our product and our system.

·8· · · · Q.· ·And those tests -- strike that.· Let me start                   09:25:46

·9· ·over.

10· · · · · · · · · That 30-cup test provided you, in your                     09:25:51

11· ·view, with the basis for the concern about the quality

12· ·of the product and harm to consumers, right?

13· · · · A.· ·It did.                                                         09:26:04

14· · · · Q.· ·Did you have any basis for questioning the                      09:26:06

15· ·quality of the Sturm product before you conducted that

16· ·test of the 30 cups?

17· · · · A.· ·We had concern prior to it knowing how                          09:26:20

18· ·difficult it was to properly manufacture a cup, but we

19· ·would not have had a factual basis prior to that point.

20· · · · Q.· ·Okay.· Who made the decision -- we talked a                     09:26:32

21· ·little bit about -- strike that.

22· · · · · · · · · When was the first time that Keurig                        09:26:53

23· ·became aware that an actual consumer had used a Sturm

24· ·product in a Keurig brewer?

25· · · · A.· ·I -- I believe once they were available to --                   09:27:31


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·1· ·for sale to consumers, that we -- we would have believed

·2· ·that that, too, occurred.· So I would say that would

·3· ·have been during the same month of September of 2010.

·4· · · · Q.· ·Do you know what consumer first used a Sturm                    09:27:52

·5· ·product in a Keurig brewer?

·6· · · · · · ·MS. NEWTON:· By name?· Are you asking for a                     09:27:58

·7· · · · name?

·8· · · · · · ·MR. BADINI:· Yes.                                               09:28:02

·9· · · · A.· ·Yeah, I -- I think, as you know, that's                         09:28:03

10· ·virtually impossible to tell.

11· · · · Q.· ·Do you know what Keurig brewer was used for                     09:28:06

12· ·that first use by a consumer of a Sturm product?

13· · · · A.· ·Without knowing the consumer, that would also                   09:28:17

14· ·be virtually impossible to tell.

15· · · · Q.· ·Other than a consumer, meaning somebody who                     09:28:22

16· ·purchased the product at retail or I suppose in an

17· ·office setting, are you aware of any other individual

18· ·who was the -- strike that.· Let me start all over.

19· · · · · · · · · Putting aside consumers who purchased at                   09:28:51

20· ·retail, are you aware of any other individuals who put a

21· ·Sturm product through a Keurig brewer prior to the time

22· ·you filed the lawsuit on October 1, 2010?

23· · · · · · ·MS. NEWTON:· Other than your client?· Is that                   09:29:13

24· · · · the question?

25· · · · A.· ·Yeah, I -- I don't know how you're defining                     09:29:17


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·1· ·people other than consumers.· I would suspect that

·2· ·someone at Tree- -- Sturm/TreeHouse brewed a cup at some

·3· ·point before they were available to consumers.· I would

·4· ·certainly hope so.

·5· · · · Q.· ·Okay.· You suspect that, but do you have any                    09:29:44

·6· ·facts suggesting that that was, in fact, the case?

·7· · · · A.· ·No, but if it wasn't the case, it would be                      09:29:54

·8· ·flagrantly irresponsible of TreeHouse/Sturm not to do

·9· ·so.

10· · · · Q.· ·Well, you don't know, for example, whether any                  09:30:03

11· ·tests that Sturm did on its cups on Keurig brewers were

12· ·even done in the United States, do you?

13· · · · A.· ·I don't.                                                        09:30:15

14· · · · Q.· ·And if they were done outside of the United                     09:30:17

15· ·States, would they be covered by U.S. patents?

16· · · · · · ·MS. NEWTON:· Objection.                                         09:30:23

17· · · · · · ·I'll caution the witness not to disclose any                    09:30:24

18· · · · legal opinion, if you've got one.

19· · · · · · ·THE WITNESS:· So are you instructing me not to                  09:30:31

20· · · · answer?

21· · · · · · ·MS. NEWTON:· No, I'm not.· I'm saying that --                   09:30:34

22· · · · · · ·THE WITNESS:· Okay.                                             09:30:38

23· · · · · · ·MS. NEWTON:· -- answer Mr. Badini, unless it's                  09:30:39

24· · · · based on an opinion you got from counsel.

25· · · · A.· ·So my understanding is if work was done                         09:30:45


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